Case 2:O4-cv-O2621-SHI\/|-dkv Document 28 Filed 08/23/05 Page 1 of 2 LP<'J\ge|D 28

IN THE U'NI'.'I.'ED STATES DISTRICT COU'RT HLED By"' . D'c-

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KIMBERLY WALTON,
Plaintiff,

vs. No. 04-2621Mav

QUENTON WI'IITE, et al.,

Defendants.

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ORDER DEN'Y'ING MOTION FOR LEAVE TO TAKE DEPOSITION OF PLAINTIFF

 

Before the court is the motion of the defendant Carl Garret
filed August 22, 2005, for leave to take the deposition of the
plaintiff, Kimberly Walton, who is incarcerated. The motion was
referred to the United States Magistrate Judge for determination.

With the motion, the defendant failed to indicate in his
certificate of consultation with counsel for the opposing party
whether the opposing party consented to or objected to the
motion. In addition, Garret failed to file a proposed order.

Therefore, Garret's motion for leave to take the deposition
of the plaintiff, Kimberly Walton, is denied, without prejudice,
for failure to indicate in the certificate of consultation
whether the opposing party consented to the motion and for
failure to submit a proposed order.

IT IS SO ORDERED this 22nd day of August, 2005.

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DIANE K. VESCUVO
UNITED STATES MAGISTRATE J'UDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

